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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:04-cr-00037-MP-AK

LATISHA LASHELLE CARTER,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 133, Motion to Continue Sentencing by Latisha

Lashelle Carter. This Court held a telephone conference for this matter on Wednesday, June 29,

2005. Defendant seeks a 30 day continuance. The government did not object to the continuance.

       ORDERED AND ADJUDGED:

       Defendant's Motion to Continue Sentencing, Doc. 133, is GRANTED. Defendant's
       sentencing is rescheduled for Wednesday, August 17, 2005, at 1:30 P.M.

       DONE AND ORDERED this 29th              day of June, 2005.



                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
